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 5 Attorney for:
   MAURICIO PORTILLO
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. 11-CRS-096 JAM

11                                    Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                           FINDINGS AND ORDER TO CONTINUE CASE
                                                           TO 7/8/14 AT 9:30 A.M.
13   MAURICIO PORTILLO
     IRMA ANACANI GONZALEZ,
14                      Defendants

15
                                                     STIPULATION
16
            Plaintiff United States of America, by and through its counsel of record, and defendant Mauricio
17
     Portillo, and defendant Irma Anacani Gonzalez, by and through their counsel of record, hereby stipulate
18
     as follows:
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            1.      By previous order, this matter was set for status on May 13, 2014.
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            2.      By this stipulation, defendant now moves to continue the status conference until July 8,
21
     2014, and to exclude time between May 13, 2014, and July 8, 2014, under Local Code T4. Plaintiff
22
     does not oppose this request.
23
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to investigate Mr. Portillo’s
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            criminal history which is necessary to evaluate whether or not Mr. Portillo will qualify for safety
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            valve, consult with the clients about recent drafts of plea agreements, continue to conduct
27
            investigation, and to otherwise prepare for trial.
28

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
               Case 2:11-cr-00096-DC Document 273 Filed 05/12/14 Page 2 of 3


 1                  b)       Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny them the reasonable time necessary for effective preparation, taking into

 3          account the exercise of due diligence.

 4                  c)       The government does not object to the continuance.

 5                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of May 13, 2013, to July 8 , 2014,

10          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11          because it results from a continuance granted by the Court at defendant’s request on the basis of

12          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13          of the public and the defendant in a speedy trial.

14          Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy

15          Trial Act dictate that additional time periods are excludable from the period within which a trial

16          must commence.

17          IT IS SO STIPULATED.

18 Dated: May 9, 2014                                          BENJAMIN B. WAGNER
                                                               United States Attorney
19

20                                                             /s/ Paul Hemesath
                                                               PAUL HEMESATH
21                                                             Assistant United States Attorney

22 Dated: May 9, 2014                                      /s/ Ken Gifford
                                                           KEN GIFFORD, ESQ.
23                                                         Attorney for Irma Anacani Gonzalez
24
     Dated: May 9, 2014                                        /s/ Dina L. Santos
25                                                             DINA SANTOS, ESQ.
                                                               Attorney for Mauricio Portillo
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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:11-cr-00096-DC Document 273 Filed 05/12/14 Page 3 of 3


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 5                                                           ORDER

 6            IT IS SO FOUND AND ORDERED this 9th day of May, 2014

 7
                                                                   /s/ JOHN A. MENDEZ
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                                                                   HON. John A. Mendez
 9                                                                 UNITED STATES DISTRICT JUDGE

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        Stip. & [Proposed] Order Continuing Status Conf. &     3
        Excluding Time Periods Under Speedy Trial Act
